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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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IN RE: TERRORIST ATTACKS ON SEPTEMBER 11, 2001 :                  No. 03-md-1570-GBD-SN
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                                    NOTICE OF APPEARANCE

       PLEASE TAKE NOTICE that Maya Gandhi, First Amendment Fellow at The New York

Times Company, who is admitted to practice in this Court, respectfully enters her appearance as

counsel for Intervenor The New York Times Company in the above-captioned case.




Dated: July 16, 2024                               /s/ Maya Gandhi
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